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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re:                                                §
                                                          §
    FREE SPEECH SYSTEMS, LLC,                             §            Case No. 22--60043
                                                          §
                                     DEBTOR.              §            (Subchapter V Debtor)
                                                          §                Chapter 11


    ORDER (A) AUTHORIZING EMPLOYMENT OF W. MARC SCHWARTZ AS CHIEF
    RESTRUCTURING OFFICER, (B) AUTHORIZING EMPLOYMENT OF STAFF OF
       SCHWARTZ ASSOCIATES, LLC IN DISCHARGE OF DUTIES AS CHIEF
        RESTRUCTURING OFFICER, AND (C) GRANTING RELATED RELIEF

             Upon the Debtor’s Application for Order (A) Authorizing Employment of W. Marc

Schwartz as Chief Restructuring Officer, (B) Authorizing Employment of Staff of Schwartz

Associates, LLC in Discharge of Duties as Chief Restructuring Officer, and (C) Granting Related

Relief (the “Application”)1; and the Court having jurisdiction to consider the Application and the

relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Application and the

requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

Application having been provided, and it appearing that no other or further notice need be

provided; and the Court having determined that the legal and factual bases set forth in the

Application establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

             1.    The Application is granted, to the extent set forth herein.




1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Application.
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       2.      In accordance with Bankruptcy Code §§ 327(a) and 330 and Bankruptcy Local Rule

2014-1, the Debtor is authorized to employ and retain W. Marc Schwartz, effective as of the

Petition Date, as its chief restructuring officer (the “CRO”), under the terms and conditions set

forth in the Application and the Engagement Agreement attached to the Application as Exhibit A

thereto, as modified herein.

       3.      The CRO shall hold confidential any material, non-public information of or

pertaining to FSS and/or Alexander E. Jones delivered to the CRO, except to the extent that such

information and the person to whom such information is disclosed are subject to a protective order

that is entered in these Chapter 11 Case.

       4.      The CRO is authorized to delegate appropriate tasks to Schwartz Associates, LLC

(“SALLC”), pursuant to the terms of the Engagement Agreement.

       5.      The CRO and SALLC shall be compensated for their services and reimbursed for

actual expenses in accordance with the terms and conditions of the Engagement Agreement, as set

forth in the Application and subject to §§ 330 and 331 of the Bankruptcy Code, and in accordance

with applicable Federal Rules of Bankruptcy Procedure, Local Bankruptcy Rules, and any orders

of this Court; provided, however, that the CRO and SALLC shall not seek reimbursement from

the Debtor’s estate for any fees incurred in defending any fee applications in this Chapter 11 Case.

       6.      All compensation for services rendered and reimbursement for expenses incurred

in connection with the above-captioned Chapter 11 Case shall be paid after further application to

and order of this Court, in accordance with the applicable provisions of the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, the Bankruptcy Local Rules, the Guidelines, and any

orders of this Court.




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       7.      Notwithstanding anything to the contrary in the Engagement Agreement, the CRO

and SALLC shall hold any prepetition retainer, pending a final order allowing compensation and

reimbursement in these cases or order otherwise directing disposition of the retainer amounts.

       8.      Notwithstanding anything to the contrary in the Application, the Engagement

Agreement, or the Declaration attached to the Application, the CRO and SALLC shall not be

entitled to reimbursement or fees and expenses in connection with any objection to their fees,

without further order of the Court.

       9.      The CRO and SALLC shall provide ten (10) business days’ notice to the Debtor

and the U.S. Trustee before any increases in the rates set forth in the Application or the

Engagement Agreement are implemented and shall file such notice with the Court. The U.S.

Trustee retains all rights to object to any rate increase on all grounds, including the reasonableness

standard set forth in § 330 of the Bankruptcy Code, and the Court retains the right to review any

rate increase pursuant to § 330 of the Bankruptcy Code.

       10.     The CRO and SALLC shall use reasonable efforts to avoid any duplication of

services provided by any of the Debtor’s other retained professionals in this Chapter 11 Case.

       11.     The CRO and SALLC will review their files periodically during the pendency of

the Chapter 11 Case to ensure that no conflicts or other disqualifying circumstances exist or arise.

If any new relevant facts or relationships are discovered or arise, the CRO and SALLC will use

reasonable efforts to identify such further developments and will promptly file a supplemental

Declaration, as required by Fed. R. Bankr. P. 2014(a).

       12.     To the extent the Application, the Schwartz Declaration, or the Engagement

Agreement is inconsistent with this Order, the terms of this Order shall govern.




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       13.     The Debtor, the CRO, and SALLC are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Application.

       14.     This Court shall retain exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.

       Dated this __ day of August, 2022.

                                               ___________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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